Case 5:20-cv-00107-FMO-SP Document 25 Filed 10/16/20 Page 1 of 1 Page ID #:836
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  9                         UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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  11 SUN WORLD INTERNATIONAL, LLC                  CASE NO:
                                                   5:20−cv−00107−FMO−SP
  12                    Plaintiff(s),
                v.                                 ORDER DISMISSING ACTION
  13
       THE HARTFORD STEAM BOILER                   WITHOUT PREJUDICE
  14 INSPECTION AND INSURANCE COMPANY ,
       et al.
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  16
                       Defendant(s).
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  19            Having been advised by counsel that the above−entitled action has been settled,
  20    IT IS ORDERED that the above−captioned action is hereby dismissed without costs
  21    and without prejudice to the right, upon good cause shown within 45 days from the
  22    filing date of this Order, to re−open the action if settlement is not consummated.
  23    The court retains full jurisdiction over this action and this Order shall not prejudice
  24    any party to this action.

  25            IT IS SO ORDERED.
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       DATED: October 16, 2020                        /s/ Fernando M. Olguin
  27                                                 Fernando M. Olguin
                                                     United States District Judge
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